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Plaintiff’s First Request for Production of Documents, and explain whether any

recordings of Executive Committee meetings contain information relevant to

Plaintiff’s claims. On December 10, 2014, Defendant responded to the Court’s

Show Cause Order and stated that it did not have, in its possession, custody or

control, audio recordings of board meetings. Defendant also stated that the

recording of a July 23, 2013, Executive Committee meeting was the only recording

in Defendant’s possession. This recording was produced to Plaintiff and the

parties do not dispute that it does not contain information relevant to Plaintiff’s

claims.

      On December 23, 2014, Plaintiff moved to reopen discovery for the limited

purpose of deposing a representative of Defendant regarding the audio recordings

of board meetings and committee meetings. Plaintiff seeks to elicit testimony

regarding the existence of audio recordings of board meetings and committee

meetings, including whether the audio recordings were lost or destroyed.

Plaintiff’s request is based on the assumption that the audio recordings, in fact,

exist or existed in the past. To support this assumption, Plaintiff relies on the

testimony of Plaintiff’s corporate representative, Bernice King (“Bernice”). At her

deposition, Bernice testified that “some” Executive Committee meetings were

recorded, and if the Executive Committee held a meeting, it would have “dealt


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with issues like the Strategic Decisions contract.” See Bernice Dep. at 238:22-

239:23. Bernice stated that she does not keep the recordings at the King Center

because “Dexter’s the one that records them.” Id. Plaintiff also relies on a

document showing that, in March 2012, Defendant was in the process of

transcribing board audio files, and on Martin Luther King III’s (“Martin”)

testimony that he thought board meetings were recorded. See Ex. C, attached to

Pl.’s Resp. to Def.’s Dec. 10, 2014, Filing; Martin Dep. 120:15-22.1

      B.     Analysis

      “Generally, a motion for additional discovery is properly denied where a

significant amount of discovery has already been obtained and further discovery

would not be helpful.” Artistic Entm’t, Inc. v. City of Warner Robins, 331 F.3d

1196, 1202-03 (11th Cir. 2003) (citing Avirgan v. Hull, 932 F.2d 1572, 1580–81

(11th Cir. 1991)). Plaintiff’s reliance on Bernice’s testimony regarding audio

recordings of Executive Committee meetings is misplaced. Plaintiff did not

specifically request that such recordings be produced, and Bernice’s testimony

regarding “Executive Committee” meetings does not necessarily mean that “board

meetings” were recorded. Martin’s testimony that he “did not know” if “board or

1
 At his deposition, Martin testified that he did not know whether board or
committee meetings were recorded, and he “believed–certainly board meetings are.
There was some recording going on.” See Martin Dep. at 120:15-22.


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committee meetings” were recorded also does not support that recordings were

made or that they are available to be produced. See Martin Dep. at 120:15-22.

Defendant represents that it does not have audio recordings of board or committee

meetings in its possession, custody or control. The lone document showing that, in

March 2012, Defendant was in the process of transcribing board audio files is not

sufficient to reopen discovery in view of the Defendant’s unqualified

representation that recordings do not exist. The Court concludes that a significant

amount of discovery has already been conducted, and it is not reasonably likely

that additional discovery would show that recordings exist.

      Plaintiff’s Motion to Reopen Discovery is also required to be denied because

Plaintiff moved to reopen discovery only after the Court denied the parties’

Motions for Summary Judgment. See Ashmore v. Sec’y, Dep’t of Transp., 503 F.

App’x 683, 686 (11th Cir. 2013) (affirming the district court’s denial of a motion

to reopen discovery because “the [defendant] would have been prejudiced by

additional discovery [since] it had already filed its motion for summary

judgment.”). Plaintiff’s Motion to Reopen Discovery is denied.




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II.   MOTION FOR RECONSIDERATION

      A.     Background

      On October 15, 2014, Plaintiff filed its Motion for Partial Summary

Judgment on its breach of contract claim. Plaintiff incorporated the arguments it

made in its Response in opposition to the Defendant’s Motion for Summary

Judgment. In that Response, Plaintiff generally claimed that it had satisfied all the

elements of a breach of contract claim and was entitled to summary judgment

because

      the parties executed a valid contract under which [Plaintiff] was to
      provide consultative services. (Ex. G; see Ex. C. at 70:3-71:7).
      Defendant promised to pay $216,000 for the services. (Ex. G.).
      [Plaintiff] provided the services. (Ex. C at 73:15-78:16; see Ex. B at
      166:12-174:11). Defendant breached the agreement by failing to pay
      the amount owed. (See Ex. B at 230:19-231:7). Defendant damaged
      [Plaintiff] by denying [Plaintiff] money it was contractually obligated
      to pay.

Pl.’s Resp. to Def.’s Mot. for Summ. J. at 14.

      On November 25, 2014, Plaintiff filed its Reply in support of its Motion for

Summary Judgment. In it, Plaintiff raised new arguments to support that it

adequately performed under the Agreement. Plaintiff relied on Martin’s deposition

to argue that there is no genuine issue of fact regarding whether it fulfilled its

obligations under the Agreement. At his deposition, Martin, the former CEO of



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Defendant, testified that (1) he was “tremendously satisfied” with Plaintiff’s

services, (2) he believed that Plaintiff performed at a “significant level,” and

(3) affirmed that Plaintiff satisfactorily performed some of the tasks required under

the Agreement. See Martin Dep. at 73:15-24-78:16. Plaintiff also argued that

Defendant is obligated to pay the amount owed under the Agreement because

Defendant received the benefit of Plaintiff’s services, and Defendant did not assert

that Plaintiff failed to meet its contractual obligations during the term of the

Agreement.

      On December 5, 2014, the Court denied Plaintiff’s Motion for Partial

Summary Judgment on its breach of contract claim. The Court found that

Plaintiff’s conclusory allegations, made in its Response to Defendant’s Motion for

Summary Judgment and incorporated by reference in its own Motion for Partial

Summary Judgment, were not supported by arguments or facts in the record. The

Court also found that Plaintiff made new arguments in its Reply that were not

raised in its Motion for Partial Summary Judgment, and that Plaintiff did not, in its

Reply, assert or identify evidence to support that it provided all the “deliverables”

required to be provided by the Agreement.

      The Court noted that Plaintiff bears the initial burden to demonstrate the

basis for its Motion for Partial Summary Judgment “by identifying those portions


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of the pleadings, depositions, answers to interrogatories, and admissions which it

believes show that there is an absence of any genuine issue of material fact” on its

breach of contract claim. See Hairston v. The Gainesville Sun Publishing Co.,

9 F.3d 913, 918 (11th Cir. 1993). The Court found that Plaintiff did not meet this

burden. Its failure to do so was problematic because Plaintiff must show that it

performed its obligations under the Agreement to recover damages, and to

establish that a valid agreement exists. These issues are important here because

Martin did not immediately sign the Agreement, and Defendant acknowledged, in

August, 2011, that a written contract did not exist for the services provided to

Defendant. See Corrosion Control, Inc. v. William Armstrong Smith Co., 251

S.E.2d 49 (1978) (“To recover damages, a party who bases his action on an express

contract must have performed all his obligations under the contract.”).

      On December 21, 2014, Plaintiff moved for reconsideration of the Court’s

Order denying its Motion for Partial Summary Judgment. Plaintiff argues that

paragraph 31 of its Statement of Material Facts (“SMF”) was supported by

Martin’s testimony that Plaintiff provided the required deliverables under the

Agreement. Paragraph 31 of Plaintiff’s SMF provides that “Strategic Decisions

provided the deliverables listed in the Agreement.” See SMF ¶ 31. In support of

paragraph 31, Plaintiff relied on pages 73-78 of Martin’s deposition. When he was


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deposed, Martin reviewed the Agreement and testified that Plaintiff provided the

deliverables required by the Agreement, and that he was “tremendously satisfied”

with Plaintiff’s performance. See Martin Dep. at 73:15-24-78:16.

      Plaintiff also argues that the Court should not have considered Terry Giles’

affidavit in denying its Motion for Partial Summary Judgment. Defendant

submitted Giles’ affidavit in support of its Motion for Summary Judgment. In

January or February 2012, Giles decided not to pay Plaintiff the amount owed

under the Agreement because, as the court-appointed custodian of Defendant, he

determined that Plaintiff “did not provide detail regarding what work was actually

performed pursuant to the Agreement or what benefit its services brought to the

King Center.” See Giles Aff. at ¶ 8. Plaintiff argues that Giles’ opinion is not

relevant because he did not serve as Defendant’s court-appointed custodian during

the term of the Agreement, and he decided not to pay the amount owed under the

Agreement after Plaintiff had performed the required work.

      B.     Legal Standard

      A district court has discretion to revise or reconsider interlocutory orders at

any time before final judgment has been entered. See Fed. R. Civ. P. 54(b); see

also Toole v. Baxter Healthcare Corp., 235 F.3d 1307, 1315 (11th Cir. 2000). The

Court does not reconsider its orders as a matter of routine practice. See LR 7.2 E,


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NDGa. A motion for reconsideration is appropriate only where there is: (1) newly

discovered evidence; (2) an intervening development or change in controlling law;

or (3) a need to correct a clear error of law or fact. See Jersawitz v. People TV,

71 F. Supp. 2d 1330, 1344 (N.D. Ga. 1999); Pres. Endangered Areas of Cobb’s

History, Inc. v. U.S. Army Corps of Eng’rs, 916 F. Supp. 1557, 1560 (N.D. Ga.

1995), aff’d, 87 F.3d 1242 (11th Cir. 1996). A motion for reconsideration should

not be used to present the Court with arguments already heard and dismissed, or to

offer new legal theories or evidence that could have been presented in the

previously-filed motion. Bryan v. Murphy, 246 F. Supp. 2d 1256, 1259 (N.D. Ga.

2003); see also Pres. Endangered Areas, 916 F. Supp. at 1560 (“A motion for

reconsideration is not an opportunity for the moving party and their counsel to

instruct the court on how the court ‘could have done it better’ the first time.”).

      C.     Analysis

      Local Rule 7.1(A)(1), which sets requirements for the the filing of motions

in this Court, provides:

      Every motion presented to the clerk for filing shall be accompanied by
      a memorandum of law which cites supporting authority. If allegations
      of fact are relied upon, supporting affidavits must be attached to the
      memorandum of law.

N.D. Ga. R. 7.1(A)(1). Rule 7(b)(1)(B) of the Federal Rules of Civil Procedure

requires motions to “state with particularity the grounds for seeking” relief. See

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Fed. R. Civ. P. 7(b)(1)(B). Plaintiff’s conclusory claim that it “provided the

services” required by the Agreement was not supported with the particularity

demanded by the Federal Rules of Civil Procedure and the Court’s Local Rules.

See Pl.’s Resp. to Def.’s Mot. for Summ. J. at 14. Plaintiff’s Motion for Summary

Judgment on its breach of contract claim also is not supported by argument or

analysis. The Court denied Plaintiff’s Motion for Partial Summary Judgment

because Plaintiff failed to address, analyze and explain how it performed the

required obligations under the Agreement—a material element of its breach of

contract claim. See Jackson v. Brewton, 595 F. App’x 939, 942 (11th Cir. 2014)

(refusing to consider pro se plaintiff’s appeal because one sentence in support of

his First Amendment claim was not enough to place the issue before the court);

Handy v. Cook, 476 F. App’x 844, 844-45 (11th Cir. 2012) (holding that plaintiff

abandoned his appeal by failing to offer any corresponding argument in support of

the statement of issues); Nicholson v. Spring Sand & Clay LP, 229 F. App’x 304,

305 (5th Cir. 2007) (holding that the failure to include a legal argument or citation

in a brief in support of general conclusions constitutes abandonment of the issues);

Sioson v. Knights of Columbus, 303 F.3d 458, 460 (2d Cir. 2002) (refusing to “dig

up and scrutinize anew the memorandum in opposition to summary judgment” in

the absence of a properly raised argument that analyzes the claims at issue).


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      Plaintiff’s belated reliance on its SMF and Martin’s deposition testimony

does not require the Court to reconsider its decision denying the Motion for Partial

Summary Judgment. Plaintiff did not cite the SMF in its Response in opposition to

Defendant’s Motion for Summary Judgment or in its Motion for Partial Summary

Judgment. The Court was not required to scour through the record for the evidence

upon which the Plaintiff now relies to support its Motion for Partial Summary

Judgment. See Magnum Towing & Recovery v. City of Toledo, 287 F. App’x 442,

449 (6th Cir. 2008) (holding that “it is not the district court’s . . . duty to search

through the record to develop a party’s claims; the litigant must direct the court to

evidence in support of its arguments before the court.”). Plaintiff’s failure to

properly analyze its breach of contract claim and explain the purported evidence

with specificity left this Court groping “‘unaided for factual needles in a

documentary haystack.’” Grant v. El Conquistador Partnership L.P.,

No. 06-1849(SEC), 2009 WL 1140261, at *2 (D.P.R. Apr. 27, 2009) (quoting

Sanchez–Figueroa v. Banco Popular de Puerto Rico, 527 F.3d 209, 213 (1st Cir.

2008)).

      Plaintiff seeks to “unfairly shift the burdens of litigation to the court.” Id.

The mere submission of evidence without specifically articulating how that

evidence supports Plaintiff’s breach of contract claim does not entitle Plaintiff to


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relief. Plaintiff failed to explain the evidence with specificity, and the Court is not

required to wade through Plaintiff’s exhibits, including Martin’s deposition, and

divine Plaintiff’s arguments by examining the evidence in light of the claims

asserted in the Complaint. See Atlanta Gas Light Co. v. UGI Util., Inc., 463 F.3d

1201, 1208 n.11 (11th Cir. 2006) (“Neither the district court nor this court has an

obligation to parse a summary judgment record to search out facts or evidence not

brought to the court’s attention.”); see also Corley v. Rosewood Care Center, Inc.,

388 F.3d 990, 1001 (7th Cir. 2004) (requiring parallel citations to the record in

appellate briefs and noting that “Corley has failed miserably and we will not root

through the hundreds of documents and thousands of pages that make up the record

here to make his case for him.”); Carmen v. San Francisco Unified Sch. Dist., 237

F.3d 1026, 1031 (9th Cir. 2001) (noting that “requiring the district court to search

the entire record, even though the adverse party’s response does not set out the

specific facts or disclose where in the record the evidence for them can be found, is

unfair” to the movant, to the court, and to other litigants whose cases the court

could be addressing); Adler v. Wal–Mart Stores, Inc., 144 F.3d 664, 672 (10th Cir.

1998) (holding that “where the burden to present such specific facts by reference to

exhibits and the existing record was not adequately met below, we will not reverse

a district court for failing to uncover them itself . . . If the rule were otherwise, the


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workload of the district courts would be insurmountable and summary judgment

would rarely be granted.”); Herman v. Chicago, 870 F.2d 400, 404 (7th Cir. 1989)

(“A district court need not scour the record to make the case of a party who does

nothing.”).

       Plaintiff’s Motion for Reconsideration is denied.2

III.   MOTION FOR SANCTIONS

       A.     Background

       On April 18, 2014, Plaintiff noticed the 30(b)(6) deposition of Defendant’s

corporate representative for May 12, 2014. The notice identified eighteen (18)


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  Plaintiff’s Motion for Partial Summary Judgment on its breach of contract claim
was primarily denied because the general allegations of the claimed breach of the
Agreement did not provide a basis upon which the Court could find that Plaintiff
was entitled to summary judgment. In its December 5, 2014, Order, the Court
noted that Defendant had offered some evidence to support that Plaintiff performed
unsatisfactorily under the Agreement. The Court did not rely “on the notion that
Giles worked with Defendant in 2011 to find a fact issue exists.” Pl.’s Mot. for
Reconsideration at 12. Giles stated that, in January or February of 2012, he
determined that Plaintiff “did not provide detail regarding what work was actually
performed pursuant to the Agreement or what benefit its services brought to the
King Center.” See Giles Aff. at ¶ 8. This fact is relevant even if Giles served as a
court-appointed custodian after Plaintiff allegedly performed its obligations under
the Agreement. Giles stated that he made the decision not to pay Plaintiff, in part,
because Plaintiff did not “provide detail regarding what work was actually
performed pursuant to the Agreement.” Id. In its briefs, Plaintiff did not address,
analyze or explain how it performed the obligations required by the Agreement and
that is why the Motion for Partial Summary Judgment on Plaintiff’s breach of
contract claim was denied.


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topics of examination, including the services provided by Plaintiff, Defendant’s

efforts to identify the services provided by Plaintiff, the reasons Defendant decided

not to pay Plaintiff for the amount owed under the Agreement, and Defendant’s

efforts to obtain grants from JPMorgan Chase between 2010 and 2012. These

topics were all targeted to the issues central to this dispute. On May 2, 2014,

Defendant informed Plaintiff that it would not designate a 30(b)(6) representative

to testify on the topics listed in the April 18, 2014, Notice. According to

Defendant, Martin is the appropriate person to testify on these matters, but

Defendant was not in contact with him because of unrelated litigation between

Defendant and the Estate of Martin Luther King, Jr., Inc.3

      On May 7, 2014, Plaintiff re-noticed the deposition of Defendant’s corporate

representative for May 15, 2014. The amended notice identified seventeen (17)

topics of examinations, including the following that are pertinent here:




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  On May 5, 2014, the parties submitted to the Court a Second Joint Submission on
Discovery Issues. In it, Defendant remarkably conceded that “it was unable to
designate someone with reliable knowledge of (1) services provided by the
Plaintiff, (2) the King Center’s efforts to identify services provided by Plaintiff, or
(3) the factual basis for the King Center’s decision not to pay Plaintiff.” Def.’s
Resp. to Mot. for Sanctions at 4. Despite this failing, Defendant designated
Bernice to testify on these matters knowing that she may be unable to provide the
testimony required.


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      ...

      2. The services provided by Strategic Decisions.

      ...

      6. Defendant’s use of the Investment Proposal and/or any parts of the
      Investment Proposal between January 2011 and present.

      7. Defendant’s efforts to identify the services provided by Strategic
      Decisions; all persons involved in the efforts; and the results of the
      efforts.

      8. The factual basis for Defendant’s decision not to pay Strategic
      Decisions; all persons involved in the decision; and all considerations
      underlying the decision, including all facts, events, documents,
      discussions and meetings relevant to the decision.

      9. Defendant’s efforts to obtain grants from JPMorgan Chase
      between 2010 and 2012; the results of these efforts; and the reasons
      you believe the efforts were or were not successful.

      10. The King Center Imaging Project, including the funding,
      development and implementation of the Project; Defendant’s
      partnership with JPMorgan Chase; and Strategic Decisions’
      contributions to the project.

      On May 13, 2014, Defendant designated Bernice, its current CEO, as its

30(b)(6) representative. On May 15, 2014, Bernice testified on Defendant’s

behalf.

      On January 27, 2015, Plaintiff filed a Motion in Limine and/or for Sanctions

to preclude the Defendant from introducing evidence or taking a position at trial on

topics 2, 6, 7, 8, 9 and 10 of the Re-Notice (the “Rule 30(b)(6) Topics”). Plaintiff

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argues that Defendant should be sanctioned because Bernice was not prepared at

her deposition to testify on these Rule 30(b)(6) Topics.

      B.     Legal Standard

      Rule 30(b)(6) of the Federal Rules of Civil Procedure requires that a

deposition notice “must describe with reasonable particularity the matters for

examination.” See Fed. R. Civ. P. 30(b)(6). “The named organization must then

designate one or more officers, directors, or managing agents, or designate other

persons who consent to testify on its behalf; and it may set out the matters on

which each person designated will testify.” Id. “The persons designated must

testify about information known or reasonably available to the organization.” Id.

The organization’s “duty to present and prepare a Rule 30(b)(6) designee goes

beyond matters personally known to that designee or to matters in which that

designee is personally involved. The [organization] must prepare the designee to

the extent matters are reasonably available, whether from documents, past

employees or other sources.” Brazos River Auth. v. GE Ionics, Inc., 469 F.3d 416,

433 (5th Cir. 2006) (internal quotation marks and citations omitted). An

organization has an affirmative duty to prepare its designees, “so that they may

give complete, knowledgeable and binding answers on behalf of the corporation.”

Marker v. Union Fid. Life Ins. Co., 125 F.R.D. 121, 126 (M.D.N.C. 1989). “If it


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becomes obvious that the deposition representative designated by the corporation

is deficient, the corporation is obligated to provide a substitute.” Brazos River

Auth., 469 F.3d at 433.

      A district court has broad discretion in selecting sanctions under Rule 37 of

the Federal Rules of Civil Procedure. See Coquina Investments v. TD Bank, N.A.,

760 F.3d 1300, 1319 (11th Cir. 2014) (“Our caselaw is clear that only in a case

where the court imposes the most severe sanction—default or dismissal—is a

finding of willfulness or bad faith failure to comply necessary.”) (quoting

BankAtlantic v. Blythe Eastman Paine Webber, Inc., 12 F.3d 1045, 1049 (11th Cir.

1994)). Rule 37(d)(1)(A)(i) allows the Court to impose sanctions if a 30(b)(6)

witness fails to appear for a deposition. See Fed. R. Civ. P. 37(d)(1)(A)(i). If a

30(b)(6) witness “is not knowledgeable about relevant facts, and the [organization]

has failed to designate an available, knowledgeable, and readily identifiable

witness, then the appearance is, for all practical purposes, no appearance at all.”

Resolution Trust Corp. v. S. Union Co., 985 F.2d 196, 197 (5th Cir. 1993); see also

Black Horse Lane Assoc., L.P. v. Dow Chem. Corp., 228 F.3d 275, 304

(3d Cir. 2000) (“When a witness is designated by a corporate party to speak on its

behalf pursuant to Rule 30(b)(6), producing an unprepared witness is tantamount to

a failure to appear that is sanctionable [as a nonappearance] under Rule 37(d)” of


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the Federal Rules of Civil Procedure.); The Bank of New York v. Meridien BIAO

Bank Tanzania Ltd., 171 F.R.D. 135, 151 (S.D.N.Y. 1997) (“‘Producing an

unprepared witness is tantamount to a failure to appear.’”) (quoting United States

v. Taylor, 166 F.R.D. 356, 363 (M.D.N.C. 1996)).

      Permissible sanctions for failing to designate a witness knowledgeable about

Rule 30(b)(6) categories include “prohibiting the disobedient party from

supporting or opposing designated claims or defenses, or from introducing

designated matters into evidence.” See Fed. R. Civ. P. 37(b)(2)(A)(ii). “When the

30(b)(6) representative claims ignorance of a subject during the deposition, courts

have precluded the corporation from later introducing evidence on that subject.”

Function Media, LLC. v. Google, Inc., No. 2:07–CV–279–CE, 2010 WL 276093,

*1 (E.D. Tex. Jan. 15, 2010); see also Wilson v. Lakner, 228 F.R.D. 524, 529-30

(D. Md. 2005) (“. . . depending on the nature and extent of the obfuscation, the

testimony given by the non-responsive deponent (e.g. ‘I don't know’) may be

deemed ‘binding on the corporation’ so as to prohibit it from offering contrary

evidence at trial.”) (citations omitted); Rainey v. Am. Forest & Paper Ass’n, Inc.,

26 F. Supp. 2d 82, 94 (D.D.C. 1998) (“Unless it can prove that the information was

not known or was inaccessible, a corporation cannot later proffer new or different

allegations that could have been made at the time of the 30(b)(6) deposition.”).


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      C.    Analysis

      The Court has reviewed the Rule 30(b)(6) Topics and finds that they

describe with particularity the matters upon which Defendant was to be deposed.

See Fed. R. Civ. P. 30(b)(6). The topics here were specific, simply stated and

straight-forward. They met the requirements of Rule 30(b)(6).

      Bernice, however, was completely unprepared to testify about the Rule

30(b)(6) Topics. She did not review documents or interview witnesses in advance

of her deposition to prepare to be deposed except for certain documents sent to her

by Defendant’s counsel. Bernice Dep. at 17:1-19:5. She did not speak to Martin

or anyone else in Defendant’s previous management to determine whether Plaintiff

provided the services under the Agreement. Id. at 167:13-174:11; 249:24-250:14.

She did not read the Agreement “in detail” and she was unable to testify about the

terms of the Agreement. Id. at 16:6-24. She did not speak with anyone regarding

the terms of the Agreement prior to her deposition. Id.

      On topic 2, Bernice testified that she did not know whether Plaintiff

performed “any of them—of the services.” Id. at 165:21-22. Under the

Agreement, Plaintiff agreed to provide Defendant with the following

organizational development “deliverables” to stabilize Defendant’s business and

achieve sustainable operations:


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       Develop and implement a reality-based plan of action to guide the
        King Center over the next 12-18 months;

       Enhance the leadership and management acumen of the President
        and CEO;

       Secure immediate and intermediate funding while positioning the
        King Center for long-term support from a diverse base of funders
        and donors;

       Recruit and support senior management;

       Develop and market a set of signature programs with donors,
        foundations, and corporations that define the new King Center; and

       Affirm past relationships and build new relationships with key
        individuals and organizations in the Civil Rights, Faith-Based,
        Labor, Social Justice, Human Rights Communities, and
        Socially-Responsible Corporations.

Consultative Serv. Agreement at 2-4. 4 At her deposition, Bernice was asked



4
  Each of these specific deliverables in the Agreement included a discrete set of
tasks that Plaintiff agreed to perform for Defendant. For example, the tasks
required under the deliverable “recruit and support senior management” included

      “assess[ing] the daily management needs of The King Center,
      [design]ing a COO job description to address the operations needs of
      the organization, identify[ing] prospective candidates for review by an
      interview team and the President and CEO, design[ing] rigorous
      orientation and onboarding process for the COO, facilitat[ing]
      development and maintenance of the organizational culture at the
      senior management level reflecting The King Center’s values, and
      support[ing] the COO in designing and facilitating the weekly senior
      staff team call.” Consultative Serv. Agreement at 4.


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whether Plaintiff completed the tasks required for each deliverable, and she

affirmatively stated that she did not know whether Plaintiff performed any of the

required tasks. Id. at 168:1-173:20. On topic 7, Bernice testified that her personal

assistant, Eric Tidwell, tried to identify the services provided by Plaintiff, but she

did not “know what else, you know, he did. Like, I don’t know if he went to look

here, or look there, look there.” Id. at 270:11-16. Bernice also did not know

whether Defendant’s former custodian, Terry Giles, reviewed materials to

determine whether Plaintiff provided the required deliverables. Id. at 271:2-12.

On topic 8, with respect to Giles’ decision not to pay Plaintiff the amount owed

under the Agreement, Bernice testified that “I don’t know all of the reasons. All I

know is we were told that they were not going to be paid. ‘We don’t have the

money.’ That’s it. So what other reasons, I have no idea.” Id. at 231:22-25.

      On topic 6, Bernice testified that she “had no idea how [the investment

proposal] was used. I assume it was used to get some people to invest in The

Center, from what it says.” Id. at 208: 16-18. Bernice also “ha[d] no idea” if the

investment proposal was submitted to JPMorgan Chase. Id. at 210:8-11.

      On topic 9, Bernice did not know and could not recall important details

about Defendant’s efforts to obtain a grant from the JPMorgan Chase Foundation

(“JCF”). Bernice did not know why Defendant failed to procure a grant from JCF,


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and, in preparation for her deposition, she did not ask Giles, or anyone at JCF, why

a grant could not be procured. Id. at 219:11-220:1.

      On topic 10, Bernice did not know if Plaintiff contributed to the King Center

Imaging Project. Id. at 207: 22-25. She was unable to answer basic questions

about the Imaging Project, including who designed and determined the content of

the website, and how long it took to develop the website. Id. at 210: 8-23.5

      Under Rule 30(b)(6), Defendant was obligated to prepare Bernice to be able

to testify on behalf of Defendant on each of the Rule 30(b)(6) Topics. Defendant

failed to prepare Bernice to do so. Defendant does not contend that the

information on these topics was not known or was inaccessible when Bernice

testified at the 30(b)(6) deposition. See Rainey, 26 F. Supp. 2d at 94. Defendant

also does not explain why it failed to meet this fundamental obligation to provide a

knowledgeable witness on the topics as required by Rule 30(b)(6) of the Federal

Rules of Civil Procedure. Defendant’s failure to adequately prepare Bernice for

her deposition on the Rule 30(b)(6) Topics is “tantamount to a failure to appear

that is sanctionable [as a nonappearance] under Rule 37(d)” of the Federal Rules of


5
 Defendant contends that Bernice “provided relevant, meaningful testimony on
each category of examination set forth in Plaintiff’s deposition notice.” Def.’s
Resp. to Mot. for Sanctions at 2. This is an unsupported, self-serving
misrepresentation of Bernice’s testimony.


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Civil Procedure. See Black Horse, 228 F.3d at 304; see also Resolution Trust

Corp., 985 F.2d at 197. Defendant further failed in its obligation under Rule

30(b)(6) to designate a knowledgeable substitute representative to testify as

Defendant’s 30(b)(6) witness when Bernice was unable to provide the most basic

factual information required by the Rule 30(b)(6) Topics. See Myrdal v. D.C.,

248 F.R.D. 315, 317 (D.D.C. 2008) (noting that “the designating party has a duty

to substitute an appropriate deponent when it becomes apparent that the previous

deponent is unable to respond to certain relevant areas of inquiry.”).6

       This is not a case of a 30(b)(6) deponent that did not go far enough to

testify. It is a case where a party did not fulfill its discovery obligation and then

made no effort to correct this discovery failure. “[T]he purpose behind Rule

30(b)(6) undoubtedly is frustrated in the situation in which a corporate party

produces a witness who is unable/unwilling to provide the necessary factual

information on the entity’s behalf.” Black Horse, 228 F.3d at 304 (quoting

Fed. R. Civ. P. 30 advisory committee’s notes stating that Rule 30(b)(6) is an


6
  Defendant states that “Plaintiff never requested the King Center produce another
30(b)(6) witness on the categories it now alleges Ms. King failed to adequately
testify to, even after this Court extended the discovery period to allow Plaintiff to
do so.” Def.’s Resp. to Mot. for Sanctions at 2. It was Defendant’s responsibility
to substitute an appropriate deponent after Bernice failed to adequately prepare for
the deposition, and failed to respond to the relevant areas of inquiry.


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“added facility for discovery” that “curb[s] the ‘bandying’ by which officers and

managing agents of a corporation are deposed in turn but each disclaims

knowledge” of relevant facts).

      The Court concludes that sanctions here are appropriate and required

because Defendant failed to provide a knowledgeable representative to testify

about the Rule 30(b)(6) Topics. Accordingly, Plaintiff’s Motion in Limine and/or

for Sanctions is granted. Defendant is precluded from introducing evidence at trial

on topics 2, 6, 7, 8, 9, and 10 of the Rule 30(b)(6) Re-Notice of Deposition that

contradicts, alters, supplements, amends or explains Bernice’s testimony on the

Rule 30(b)(6) Topics. See Function Media, 2010 WL 276093, at *1; Wilson, 228

F.R.D. at 529-30; Rainey, 26 F. Supp. 2d at 94.

IV.   CONCLUSION

      For the foregoing reasons,

      IT IS HEREBY ORDERED that Plaintiff’s Motion to Reopen Discovery

[89] is DENIED.

      IT IS FURTHER ORDERED that Plaintiff’s Motion for Reconsideration

[92] is DENIED.

      IT IS FURTHER ORDERED that Plaintiff’s Motion in Limine and/or for

Sanctions [97] is GRANTED. Defendant is precluded at trial from introducing


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evidence on topics 2, 6, 7, 8, 9, and 10 of the 30(b)(6) Re-Notice of Deposition that

contradicts, alters, supplements, amends or explains Bernice’s testimony on the

Rule 30(b)(6) Topics.



      SO ORDERED this 5th day of May, 2015.



                                    _______________________________
                                    WILLIAM S. DUFFEY, JR.
                                    UNITED STATES DISTRICT JUDGE




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